
652 S.E.2d 654 (2007)
Lula SANDERS, Cynthia Eure, Angeline McInerny, Joseph C. Mobley, on behalf of themselves and others similarly situated
v.
STATE PERSONNEL COMMISSION, a body politic; Office of State Personnel, a body politic; Thomas H. Wright, State Personnel Director (in his official capacity); Teachers' and State Employees' Retirement System of North Carolina, a body politic and corporate; Michael Williamson, Director of the Retirement System Division and Deputy Treasurer of the State of North Carolina (in his official capacity); Richard H. Moore, Treasurer of the State of North Carolina and Chairman of the Board of Trustees of the Retirement System (in his official capacity); Temporary Solutions, a subdivision of the Office of State Personnel, and State of North Carolina.
No. 262P07.
Supreme Court of North Carolina.
October 11, 2007.
Norma S. Harrell, Lars F. Nance, Special Deputy Attorney Generals, for State Personnel Commission, et al.
Gregg E. McDougal, David C. Lindsay, Robert G. Hensley, Jr., Raleigh, Jim Kelly, Adam Charnes, Winston-Salem, for Sanders, et al.
Prior report: ___ N.C.App. ___, 644 S.E.2d 10.

ORDER
Upon consideration of the conditional petition filed on the 18th day of June 2007 by Plaintiffs in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed as moot by order of the Court in conference, this the 11th day of October 2007."
